
701 S.E.2d 241 (2010)
STATE of North Carolina
v.
Artives Jerod FREEMAN.
No. 113PA10.
Supreme Court of North Carolina.
August 26, 2010.
Robert C. Montgomery, Senior Deputy Attorney General, for State of North Carolina.
Benjamin Dowling-Sendor, Assistant Appellate Defender, for Artives Jerod Freeman.
Prior report: ___ N.C.App. ___, 690 S.E.2d 17.

ORDER
Upon consideration of the petition filed on the 17th of March 2010 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 26th of August 2010."
Upon consideration of the petition filed by State of NC on the 17th of March 2010 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 26th of August 2010."
Upon consideration of the conditional petition filed on the 29th of March 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of August 2010."
